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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LAKESHIA CHANEY, Individually and §
as the Surviving Mother of J.T., and as §
the Administrator of the Estate of J.T., §
                                         §
       Plaintiff,                        §
                                         §          CIVIL ACTION NO. 5:21-cv-1082
v.                                       §
                                         §
EAST CENTRAL INDEPENDENT                 §
SCHOOL DISTRICT                          §          JURY TRIAL DEMANDED
                                         §
and                                      §
                                         §
LOURDES DIAZ,                            §
                                         §
       Defendants.                       §

                         PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES, Lakeshia Chaney, Plaintiff, individually and as the surviving mother of

J.T. and as the administrator of the Estate of J.T., complaining of Defendants East Central

Independent School District (“ECISD”) and Lourdes Diaz (“Diaz”), in her official and individual

capacity, and for cause would show the Honorable Court as follows:

                              I.      NATURE OF THE ACTION

   1. J.T. was 7 years old when he attended Salado Elementary School as a first-grade student

       within the East Central Independent School District.

   2. J.T. was the only black student in his class. J.T. was an individual with a disability after

       having been diagnosed with Attention Deficit Hyper-Activity Disorder (“ADHD”). J.T.


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     was relentlessly bullied for being black and for having ADHD by students within his own

     classroom.

  3. J.T.’s teacher, Lourdes Diaz, was on notice of the persistent bullying, which included racial

     slurs, name-calling, and physical assault. Diaz did nothing to prevent or otherwise address

     the bullying of J.T. As a result, the bullying persisted.

  4. On or about December 21, 2019, the last day of the semester before Christmas break, J.T.

     committed suicide in his home after expressing how depressed and exhausted he was of

     the constant bullying.



                                         II.     PARTIES

  5. Plaintiff, Lakeshia Chaney, is a resident of San Antonio, Texas. Plaintiff is the surviving

     mother of J.T., Decedent, and brings this wrongful death action on his behalf as a surviving

     parent. See Tex. Civ. Prac. & Rem. Code § 71.021. Plaintiff also brings this survival action

     on behalf of the Estate of J.T. Plaintiff is an heir of Decedent’s Estate. No administration

     of the Estate of J.T. has been initiated, as it is believed that no administration is necessary.

  6. Defendant, East Central Independent School District, hereinafter “ECISD,” is a school

     district organized and existing under the laws of the State of Texas and at all times is

     required to follow the laws contemplated by the United States Constitution and all other

     statutory laws and rules promulgated thereunder. Employees, personnel and/or agents

     within ECISD are responsible for the care, management and control of all public school

     business, including the training of teachers at the schools and supervision of students.

     ECISD may be served through their Superintendent, Roland Toscano, at 6634 New Sulphur

     Springs Road, San Antonio, TX 78263.



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  7. Defendant, Lourdes Diaz, hereinafter “Diaz,” was at all times relevant herein a public-

     school teacher employed by ECISD. Diaz may be served at 6215 Sunset Haven St., San

     Antonio, TX 78249, or wherever she may be found.



                             III.    JURISDICTION AND VENUE

  8. Jurisdiction exists in this Honorable Court pursuant to 28 U.S.C. §§ 1331 and 1343 as this

     action is brought pursuant to the laws and rules of the United States. Plaintiff further

     invokes the supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367 to

     adjudicate pendent state law claims.

  9. Venue is proper in this Court as Defendants’ constitutional violations and intentional torts

     and otherwise violative conduct occurred within the Western District of Texas, San

     Antonio Division.



                         IV.        ADMINISTRATIVE EXHAUSTION

  10. Plaintiff has alleged, among other things, that J.T. was a student with a disability, whether

     it be pursuant to Section 504 of the Rehabilitation Act of 1973, the Americans With

     Disabilities Act or the Individuals With Disabilities Education Act, 20 U.S.C. § 1401 et

     seq. (“IDEA”). As such, save for the fact that he is deceased, J.T. would otherwise be

     required to satisfy the administrative exhaustion requirements of IDEA.

  11. However, the Courts have recognized an exception to the exhaustion requirement. The

     exception applies when there is relief that could be obtained through this administrative

     process, known as the futility exception. It is now well settled that a student who is deceased



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     cannot receive any remedy that a hearing officer could provide, and as such, satisfies this

     futility exception. Accordingly, J.T. is not required to go through administrative exhaustion

     in this case.



                              V.     FACTUAL ALLEGATIONS

  A. J.T. BECAME A VICTIM OF TARGETTED RACIAL HARASSMENT AND
     BULLYING BY HIS CLASSMATES THAT WENT UNADDRESSED BY ECISD

  12. J.T. was a first-grade student at Salado Elementary for the fall semester of the 2019-2020

     academic school year at ECISD.

  13. Plaintiff enrolled J.T. in a bilingual program at Salado because J.T. expressed interest in

     learning Spanish and actively worked to communicate in this new language.

  14. J.T. was also diagnosed with ADHD, a learning disability that ECISD was on notice of

     since J.T.’s enrollment with ECISD.

  15. J.T.’s schoolteacher for the fall semester at Salado was Defendant, Lourdes Diaz.

  16. J.T. was the only black student in this first grade classroom taught by Diaz. All other

     students in the classroom were either white or hispanic.

  17. On multiple occasions, J.T. was harassed and bullied by classmates due to the color of his

     skin and because of his ADHD. The harassment and bullying consisted of both verbal

     insults and physical assaults on J.T. over the course of several months during that fall

     semester.

  18. Several of J.T.’s classmates would publicly call J.T. names and racial slurs, such as

     “nigger,” “blackie,” and “snaggletooth,” among other names.

  19. The bullying and harassment against J.T. was done both inside and outside of the

     classroom.

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  20. J.T. informed Diaz of the harassment and bullying that was ongoing. Diaz ignored J.T.’s

     repeated complaints and cries for help and dismissed the bullying allegations that were

     being made by J.T., despite the frequency in which J.T. would report these behaviors to

     Diaz.

  21. J.T.’s family began to notice drastic changes in J.T.’s mood and behavior. J.T. was

     previously known for his positivity, fun spirit and loving nature. As the bullying and

     harassment progressed, J.T.’s family began to notice that he appeared depressed,

     withdrawn and scared to go to school. J.T. further began experiencing anxiety and

     nervousness – feelings that up to this point were never an issue with J.T.

  22. After complaining to Diaz of the constant bullying and harassment, J.T. was placed by Diaz

     on one side of the classroom while all other students remained on the other side of the

     classroom.

  23. Diaz had effectively segregated J.T., the lone black student in the classroom, to one side of

     the classroom and restricted his ability to effectively participate in classroom activities and

     education.

  24. The bullying and harassment did not end there. In fact, the bullying and harassment

     continued to worsen as students now joked that J.T. was segregated by himself in the

     classroom.

  25. None of the students who were bullying and harassing J.T. were ever punished or otherwise

     disciplined for their actions towards J.T.

  26. On information and belief, Diaz never escalated the bullying and harassment complaints to

     her superiors and/or supervisors within ECISD.




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  27. J.T. again expressed his sadness to Diaz about his segregation in the classroom and the

     bullying and harassment that never ceased. Again, Diaz dismissed his complaints and cries

     for help.

  28. Diaz never informed Plaintiff or J.T.’s family of any sort of behavioral or disciplinary

     issues regarding J.T.

  29. Plaintiff requested a parent-teacher conference with Diaz to discuss J.T.’s situation in the

     classroom. On or about November 7, 2019, Plaintiff and Diaz met at their scheduled

     conference where Plaintiff saw first J.T. segregated in the classroom.

  30. Plaintiff asked Diaz why J.T. was segregated in the classroom and Diaz replied that J.T.

     was having issues with other students in the classroom. Plaintiff requested that in the future

     Diaz should immediately call Plaintiff if any issue arises regarding her son, whether it be

     bullying or other issues in the classroom. Diaz agreed to do so in the future and Plaintiff

     again gave Diaz the phone numbers for herself and her husband.

  31. Plaintiff also requested that Diaz address the bullying and harassment, as well as reintegrate

     J.T. with his classmates as it was having a negative impact on J.T. Diaz agreed to address

     the bullying and harassment, as well as J.T.’s segregation.

  32. Diaz also informed Plaintiff in this meeting that she herself had a son with ADHD, and as

     a result, knew how to manage students with ADHD.

  33. Despite Diaz’s assurances of addressing the bullying and harassment, she never did so. The

     bullying and harassment persisted, along with J.T.’s segregation in the classroom.

  34. On at least one occasion, J.T. was physically assaulted by his classmates. In the fall

     semester of the 2019-2020 school year, J.T. was physically assaulted on a school bus as he

     was headed home from school. The perpetrators of the assault tore J.T.’s shoes as they



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     called him names and continued to harass and bully him. J.T. notified the school bus driver,

     as well as Plaintiff, who reached out to the administration for answers.

  35. On the last day of the semester just before Christmas break, J.T. came home from school

     and told Plaintiff that he was tired, couldn’t stand the bullying anymore and upset that

     nobody at school was listening to him or taking his concerns seriously.

  36. Plaintiff immediately began calling the school to ask about bullying and segregation in the

     classroom, but she received no response.

  37. J.T. knew that he could not continue this cycle of bullying once the new semester at Salado

     Elementary resumed.

  38. Diaz, school administrators and ECISD as a whole failed J.T. by ignoring his repeated pleas

     for help and in failing to protect him from the constant bullying and harassment he endured.

  39. J.T. committed suicide later that night on December 21, 2019.

  40. On December 27, 2019, Plaintiff met with Diaz and the Principal of Salado Elementary.

     Diaz refused to answer or otherwise address any of the questions Plaintiff brought up

     regarding the bullying and harassment that J.T. was subjected to.

  B. ECISD’S BULLYING AND HARASSMENT POLICIES

  41. ECISD outlines its bullying and harassment policies to all employees and/or agents that

     become employed through ECISD. These policies can be found in the “East Central ISD

     Employee Handbook for Personnel.”

  42. Diaz was on notice of ECISD’s policies surrounding bullying and harassment.

  43. Despite being on notice of ECISD’s policies surrounding bullying and harassment, as well

     as being on notice of repeated bullying incidents due to J.T.’s race, Diaz did nothing to

     prevent J.T. from continued harm. In fact, Diaz’s decision to segregate the lone black



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     student in her classroom had the effect of causing further harm and bullying to be

     committed against J.T.

  44. Bullying is defined by the Texas Education Code § 37.0832 as:

            (A) “means a single significant act or a pattern of acts by one or more students

            directed at another student that exploits an imbalance of power and involves

            engaging in written or verbal expression, expression through electronic means, or

            physical conduct that satisfies the applicability requirements provided by

            Subsection (a-1), and that:

                    (i) has the effect or will have the effect of physically harming a student,

                    damaging a student's property, or placing a student in reasonable fear of

                    harm to the student's person or of damage to the student's property.

                    (ii) is sufficiently severe, persistent, or pervasive enough that the action or

                    threat creates an intimidating, threatening, or abusive educational

                    environment for a student.

                    (iii) materially and substantially disrupts the educational process or the

                    orderly operation of a classroom or school.

                    (iv) infringes on the rights of the victim at school. And

            (B) includes cyberbullying.

  45. The ECISD policy states, in pertinent part, that “All employees are required to report

     student complaints of bullying, including cyberbullying, to the campus administrator or

     immediate supervisor.”

  46. ECISD policy further provides that “The educator shall not exclude a student from

     participation in a program, deny benefits to a student, or grant an advantage to a student on



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     the basis of race, color, gender, disability, national origin, religion, family status, or sexual

     orientation.

  47. On information and belief, ECISD had a “Threat Assessment Team” on campus of Salado

     Elementary at all times relevant herein. At least one purpose of this team was to “Provide

     guidance to students and school employees on recognizing harmful, threatening, or violent

     behavior that may pose a threat to the community, school, or individual.”

  48. On information and belief, Diaz never reached out to the Threat Assessment Team after

     being notified of the bullying and harassment that J.T. was subjected to.

  49. Further, Diaz never reported any of J.T.’s complaints about bullying and harassment to the

     Plaintiff, her campus administrator or to her immediate supervisor.

  C. OTHER INSTANCES OF BULLYING AND HARASSMENT WITHIN ECISD
     HAVE BEEN UNADDRESSED

  50. ECISD has had a pattern and practice of failing to address bullying and harassment within

     its schools.

  51. Numerous complaints of bullying and harassment have been lodged by students and

     parents of students within ECISD. Many of these complaints, including written complaints,

     have alleged bullying based on disabilities and bullying based on race.

  52. Despite the numerous complaints received, the ECISD administration failed to take any

     substantive actions to address the bullying and harassment within its district, and the

     appropriate reporting procedures that would keep students safe.

  53. ECISD further failed to train its employees and/or agents on their responsibility for

     reporting bullying and harassment.




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  54. ECISD’s failure to address the bullying and harassment and adjust their policies

     accordingly amounts to ECISD’s deliberate indifference to the safety and rights of J.T. and

     other students within the district.

  55. Policymaking authority generally rests with the school district's board of trustees.

     However, in some circumstances, notice to a school principal may suffice, as school

     principals are normally entrusted with the responsibility and authority associated with an

     “appropriate person.”

  56. In the present case, the policymakers of ECISD were aware of the intense bullying and

     harassment problem within the school district but chose not to address it.

  57. Further, the policymakers of ECISD were aware of the discriminatory and unjustifiably

     different treatment between black and white students in their school district.



                                  VI.       CAUSES OF ACTION

                 Count I – Claims Pursuant to the Fourteenth Amendment

  58. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  59. The facts outlined above demonstrate violations of J.T.’s civil rights pursuant to the Due

     Process Clause of the Fourteenth Amendment to the United States Constitution.

  60. The acts and/or omissions of employees and agents at ECISD evidence a failure of the

     ECISD School Board to provide adequate training and supervision to staff, thus violating

     the rights of J.T. pursuant to the Due Process Clause of the Fourteenth Amendment for

     which the school district is liable.




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  61. ECISD discriminated against J.T. in singling him out as the only black student in his

     classroom and subjecting him to cruel treatment at a time when J.T. was being relentlessly

     harassed on account of his race and disability.

  62. ECISD singularly discriminated against J.T. as a class-of-one in failing to keep him safe

     and against violating his rights under the Equal Protection Clause of the Fourteenth

     Amendment.

  63. As a result, ECISD violated the Equal Protection Clause of the Fourteenth Amendment for

     which the school district is likewise liable under 42 U.S.C. § 1983.

                       Count II – Claims pursuant to 42 U.S.C. § 1983

  64. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  65. Plaintiff would show that J.T.’s death was a direct result of the acts and/or omissions

     attributable to Defendant Diaz which were clearly unreasonable. That is, Diaz, without

     justification and the need to do so, singled J.T. out for discriminatory treatment by

     segregating him to one side of the classroom despite being on notice of the relentless

     bullying that J.T. was subjected to based on his race and disability.

  66. Diaz’s actions were clearly unreasonable in that she knew or should have known that

     segregating J.T., the lone black student in the classroom, while he was being bullied on

     account of his race and disability would have a harmful impact on J.T.’s ability not only

     to focus on school, but to also live a healthy life.

  67. The acts and/or omissions outlined in this Complaint were not objectively reasonable or

     justified, nor were they necessary under the circumstances.




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  68. Diaz embarked on a willful, malicious, reckless, and outrageous course of conduct that

     was intended to cause and, in fact, caused J.T. to suffer extreme and severe mental and

     emotional distress, agony and anxiety.

  69. Plaintiff would further show that Diaz and ECISD were deliberately indifferent to J.T.’s

     rights and pleas for help. Rather than acknowledge his repeated pleas concerning the

     bullying and harassment, Diaz and ECISD ignored the obvious consequences that would

     come from the relentless bullying campaign.

  70. The bullying was so severe, pervasive, and objectively offensive that it could be said to

     deprive the J.T. of access to educational benefits or opportunities provided by the school

     and ECISD.

                              Count III – 42 U.S.C. § 1983
                        Unconstitutional Custom, Policy or Practice

  71. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  72. The acts and/or omissions of Defendants, which resulted in the death of J.T., were done

     pursuant to one or more interrelated de facto as well as explicit policies, practices, and/or

     customs of the Defendant ECISD.

  73. On and for some time prior to December 21, 2019 (and continuing to the present date)

     ECISD deprived J.T. of the rights and liberties secured to him by the Fourteenth

     Amendment to the United States Constitution, in that said Defendant and their supervising,

     and managerial employees, agents, and representatives, acting with gross negligence and

     with reckless and deliberate indifference to the rights and liberties of the public in general,

     knowingly maintained, enforced and applied an official policy recognized by the ECISD.

  74. Diaz acted pursuant to an expressly adopted official policy or a longstanding practice or

     custom of the ECISD.

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  75. Defendant ECISD, including the School Board and supervisors maintained, inter alia, the

     following unconstitutional customs, practices, and policies:

         a. Discriminating against students on account of race.

         b. Discriminating against students on account of disability.

         c. Providing inadequate training regarding race.

         d. Providing inadequate training regarding disability.

         e. Providing inadequate training regarding what to do when confronted with bullying

             situations in the classroom.

         f. Providing inadequate racial sensitivity training.

         g. Employing and retaining as teaching personnel those who Defendant ECISD, at all

             times material herein, knew or reasonably should have known had dangerous

             propensities for ignoring student/parent complaints, abusing their authority, and for

             mistreating students in the classroom.

         h. Inadequately supervising, training, controlling, assigning, and disciplining ECISD

             personnel who ECISD each knew, or in the exercise of reasonable care, should

             have known had the aforementioned propensities and character traits.

         i. Employing and retaining personnel who have been known to be abusive and/or

             irresponsible.

         j. Maintaining       grossly   inadequate    procedures    for   reporting,   supervising,

             investigating, reviewing, disciplining, and controlling the intentional misconduct

             by those who are ECISD personnel.




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         k. Failing to adequately discipline personnel for the above-referenced categories of

             misconduct and discipline that is so slight that is tantamount to encourage

             misconduct.

         l. Having a de facto policy of ignoring student complaints of bullying.

         m. Furthermore, the policies, practices, and customs implemented, maintained, and

             still tolerated by ECISD were affirmatively linked to, and were a significantly

             influential force behind the death of J.T.

                                   Count IV – 42 U.S.C. § 1983
                                        Failure to Train

  76. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  77. ECISD is liable for all damages suffered by Plaintiff pursuant to Monell v. Dep’t of Soc.

     Servs., 436 U.S. 658 (1978) and 42 U.S.C. § 1983 based on an official policy or custom

     of the ECISD of which the Policymakers all had actual or constructive knowledge that

     was a moving force behind the constitutional violations alleged herein.

  78. The conduct set forth supra evinces a custom of allowing bullying to occur on campus

     without affirmative steps to address/prevent such bullying, a lack of policies and training

     instructing teachers on the appropriate manner in which to handle individuals who have

     been subjected to bullying and building a safe environment in the classroom.

  79. With respect to the claims made the basis of this lawsuit, the ECISD failed to adequately

     train, supervise or discipline its employees regarding bullying and race discrimination in

     the classroom. The failure to train, supervise or discipline its employees in a relevant

     respect reflects a deliberate indifference on ECISD to the rights of the school district’s

     students and is actionable under 42 U.S.C. § 1983.



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  80. ECISD developed and maintained a policy of deficient training of its teachers in the

     appropriate actions to take when confronted with a bullying situation in the classroom.

     ECISD’s training is designed and implemented to act in this regard.

  81. For instance, the following conduct, policies, and customs, inter alia, by ECISD violated

     J.T.’s constitutional rights:

         a. The inadequacy of ECISD’s policies, training, supervision, or discipline relating to

             discrimination on account of race.

         b. The inadequacy of ECISD’s policies, training, supervision, or discipline relating to

             discrimination on account of disability.

         c. Lack of training regarding effective communication with students who are

             experiencing bullying.

         d. Failing to maintain appropriate procedures for reporting, supervising, investigating,

             reviewing, disciplining, and controlling the intentional misconduct by those who

             are ECISD personnel.

  82. ECISD’s failure to properly train, supervise and discipline its teachers regarding the

     conduct, policies, and customs outlined above was the proximate cause of the violation of

     J.T.’s constitutional rights.

                                   Count V – 42 U.S.C. § 1983
                              Failure to Supervise and/or Discipline

  83. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  84. On Plaintiff’s claim against the ECISD for failing to supervise and/or discipline its teachers

     for prior violations and the resulting lack of supervision:

         a. ECISD failed to adequately supervise and/or discipline its employees in handling

             usual and recurring situations with which they deal.

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         b. ECISD was deliberately indifferent to the need to supervise and/or discipline its

             teachers and/or employees adequately.

         c. The failure to adequately supervise and/or discipline its employees proximately

             caused the deprivation of J.T.’s constitutional rights. And

         d. ECISD failed to adequately supervise and/or discipline Diaz for ignoring J.T.’s

             pleas for help when he was being bullied on account of his race and disability for

             no justifiable reason, resulting in Plaintiff’s damages.

  85. Despite having knowledge of the violations of the policies and other best police practices

     as described above, ECISD failed and/or refused to adequately discipline Diaz. ECISD is

     well aware of the behavior of Diaz regarding this incident but has failed to take any action.

     ECISD’s failure to adequately supervise and/or discipline its employees was therefore the

     moving force behind Plaintiff’s damages.

             Count VI – Claims related to the Americans with Disabilities Act

  86. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  87. The facts as outlined above evidence a violation of the Americans with Disabilities Act,

     42 U.S.C. § 12131, et seq. (“ADA”).

  88. J.T. was a qualified individual with a disability as defined in 42 U.S.C. § 12131(2) with

     his disabilities affecting major life activities, including his ability in attending public

     school and learning.

  89. The ECISD is a public entity as defined in 42 U.S.C. § 12131(1) and receives federal

     financial assistance and is thus covered by the ADA mandate.

  90. The ECISD provides a facility whose operation constitutes a program and service for

     ADA purposes.


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  91. J.T. was a victim of discrimination based on race and disability.

  92. ECISD refused to reasonably accommodate J.T.’s disability and modify their services in

     violation of Title II of the ADA by not maintaining a safe environment and non-hostile

     educational environment for J.T.

  93. The acts and//or omissions of ECISD undermined and interfered with J.T.’s rights for

     which ECISD is liable.

  94. The acts and/or omissions of ECISD violated J.T.’s rights under the ADA by not keeping

     him as safe as his non-disabled peers.

  95. These acts and/or omissions were the proximate cause and moving force behind J.T.’s

     death.

                            Count VII – Claims related to Title VI
                                     42 U.S.C. § 2000d

  96. Plaintiff incorporates by reference all previous paragraphs as if fully set forth herein.

  97. Title VI provides that, “No person in the United States shall, on the ground of race, color,

     or national origin be excluded from participation in, be denied in the benefits of, or be

     subjected to discrimination under any program or activity receiving federal financial

     assistance.”

  98. ECISD is a recipient of federal financial assistance, thus subject to the provisions

     of Title VI. ECISD has a pattern of engaging in racial discrimination, specifically with

     respect to student bullying issues and discipline, the issues directly involved in this lawsuit.

  99. The ongoing discrimination in the ECISD was a direct and producing cause of the actions

     against J.T. perpetrated by his peers and the actions of Defendant Diaz in segregating him

     to one side of the classroom. As a result of the discriminatory intent of ECISD employees,

     Plaintiff is entitled to compensatory damages.

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  100.     Plaintiff’s damages were a direct result of Defendant Diaz’s acts and/or omissions

           when she was repeatedly confronted with the issue that J.T. was being bullied and

           harassed in the classroom on account of his race and disability.

  101.     Rather than address the bullying and harassment, Diaz further perpetuated the racial

           animus against J.T. by segregating him to one side of the classroom for several

           weeks or months. ECISD ratified Diaz’s course of conduct.

  102.     J.T., as a black student with ADHD at ECISD was a member of a protected class

           and suffered racial discrimination at the hands of Diaz and ECISD that led to

           Plaintiff’s damages described in this Complaint.

              Count VIII – Claims Related to the Rehabilitation Act of 1973

  103.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

           herein.

  104.     The ECISD receives federal funds and thus follows the requisites of Section 504

           of the Rehabilitation Act of 1973, 29 U.S.C. § 794.

  105.     Regulations pertaining to Section 504 require that each state that receives

           disbursements, including the state’s political subdivisions such as ECISD, must

           ensure that all students with disabilities are given appropriate and necessary

           accommodations, pursuant to federal law and rules.

  106.     To the extent that a policy or practice hinders honest consideration of a disabled

           student’s unique and individualized needs and fails to accommodate that student’s

           disability and keep the student safe, it violates Section 504.

  107.     ECISD failed to keep J.T. safe by allowing him to be subjected to a hostile

           educational environment, unlike that which non-disabled students experienced.



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           The acts and omissions outlined above contributed to violating J.T.’s rights

           pursuant to Section 504, and the federal rules and regulations promulgated

           pursuant thereto.

  108.     Further, the failures outlined above by ECISD were a gross deviation from their

           professional standard of care.

  109.     The acts and omissions of ECISD violated the regulations under Section 504.

                     Count IX – Negligence and Gross Negligence

  110.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

           herein.

  111.     Defendants, individually and/or collectively, owed J.T. a legal duty to protect him

           from the harm and injuries he suffered, which ultimately resulted in his death.

           Defendants had a duty to exercise the degree of care that a reasonable person would

           use to avoid harm and provide care to others under circumstances similar to those

           herein. Plaintiff’s injuries were directly, factually, and proximately caused by

           Defendants’ negligent, careless, and reckless disregard of said duty.

  112.     As a direct and proximate result of the Defendants’, individual and/or collective,

           negligence, J.T. experienced extreme suffering, mental anguish and death which

           Plaintiff is entitled to recover from in excess of the minimum jurisdictional limits

           of this Court.

  113.     Plaintiff would further show that the acts and omissions of Defendants, individually

           and/or collectively, were committed with complete and reckless disregard for, and

           with willful, wanton, and actual conscious indifference to the rights, safety, and

           welfare of J.T. and the general public.



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  114.     The nature of Defendants’ acts and omissions were of such a nature as to constitute

           gross negligence and malice. Specifically, Defendants undertook a continuous

           course of action in the form of conscious decisions, with subjective knowledge and

           awareness of the risks and hazards presented by each decision as discussed above

           and incorporated herein, to expose J.T. to life threatening hazards when he was

           bullied on account of his race and disability.

  115.     When viewed objectively from the standpoint of Defendants at the time of their

           occurrence, said acts and omissions involved an extreme degree of risk and danger,

           considering the probability and the magnitude of the potential harm to J.T.

  116.     Defendants committed various acts and omissions constituting gross negligence, as

           outlined above. Such gross negligence was a proximate cause of the occurrence and

           Plaintiff’s injuries and damages. Therefore, Plaintiff is entitled to punitive and/or

           exemplary damages.

                               Count X – Wrongful Death

  117.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

           herein.

  118.     Plaintiff bring this wrongful death action pursuant to Tex. Civ. Prac. & Rem. Code

           § 71.002. J.T. was a beloved son, brother, student, and friend at the time of his

           death. During his short time in this life, he brought incalculable joy to Plaintiff’s

           life as well as to many others. He was the son of Plaintiff. Plaintiff has experienced

           the one loss that is every family member’s greatest fear: burying her beloved son.

  119.     Plaintiff has suffered, and will continue to suffer, damage to the child/parent

           relationship, including the loss of love, affection, solace, comfort, companionship,



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           society, assistance, and emotional support from her son as a proximate result of

           Defendants’ conduct, acts and omissions, and negligence outlined in this

           Complaint.

  120.     As a proximate cause of Defendants’ conduct, acts and omissions, and negligence,

           Plaintiff has suffered severe mental depression and anguish, grief, and sorrow as a

           result of J.T.’s death, and in all reasonable probability will continue to suffer

           indefinitely into the future.

  121.     Plaintiff has also suffered pecuniary loss and loss of inheritance due to the death of

           J.T. that Defendants’ proximately caused.

                                Count XI – Survival Action

  122.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

           herein.

  123.     Plaintiff brings this survival action in her capacity as the legal heir of Decedent

           pursuant to Tex. Civ. Prac. & Rem. Code § 71.021. Defendants’ negligent acts were

           a proximate cause of tremendous conscious pain, suffering, terror, mental anguish

           to J.T. preceding his eventual death. The Estate of J.T. is entitled to recover

           damages for:

               a. J.T.’s conscious physical pain and suffering suffered by prior to his death;

               b. His conscious mental anguish suffered prior to his death; and

               c. Funeral and burial expenses for J.T.

                                      VII.   DAMAGES

  124.     Plaintiff incorporates by reference all previous paragraphs as if fully set forth

           herein.


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  125.        Actual Damages. Defendants’ acts and/or omissions were a proximate and/or

              producing cause of the death of J.T. and the following damages:

         A. Estate of J.T. (Survival Claim – Tex. Civ. Prac. & Rem. Code § 71.021).

         1.      Conscious pain and mental anguish suffered by J.T. prior to his death;
         2.      Funeral and burial expenses; and
         3.      Exemplary damages.


         B. Lakeshia Chaney (as wrongful death beneficiary of J.T. – Tex. Civ. Prac. &
            Rem. Code § 71.004).

         1.      Mental Anguish – the emotional pain, torment, and suffering experienced by
                 Plaintiff because of the death of her son, J.T. – that Plaintiff sustained in the
                 past and that she will, in reasonable probability, sustain in the future;
         2.      Loss of Companionship and Society – the loss of the positive benefits flowing
                 from the love, comfort, companionship, and society that Plaintiff would have
                 received from J.T. had he lived – that Plaintiff sustained in the past and that she
                 will, in reasonable probability, sustain in the future;
         3.      Pecuniary Loss – the loss of the care, maintenance, support, services, advice,
                 counsel, and reasonable contributions of a pecuniary value that Plaintiff would
                 have received from J.T. had he lived – that Plaintiff sustained in the past and
                 that she will, in reasonable probability, sustain in the future.


  126.        Punitive/Exemplary Damages. Defendants’ acts and/or omissions, as outlined

              above, were grossly negligent, in that, when viewed objectively from the standpoint

              of each of the Defendants, individually and/or collectively, at the time of its

              respective act and/or omission, involved an extreme degree of risk, considering the

              probability and magnitude of the potential harm, and of which each of the

              Defendants, individually and/or collectively, had actual, subjective awareness of

              the risk involved, but nevertheless proceeded with conscious indifference to the

              rights, safety, and welfare of others, including J.T. As such, the Estate of J.T. is

              entitled to recover punitive and exemplary damages.

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  127.     Prejudgment and post judgment interest.

  128.     Costs of Court.



                                    VIII. JURY TRIAL

  129.     Plaintiff demands a jury trial and would show that the appropriate fee has been paid

           contemporaneously with the filing of Plaintiff’s Original Complaint.



                             IX.    PRESERVING EVIDENCE

  130.     Plaintiff requests and demands that Defendants preserve and maintain all evidence

           pertaining to any claim or defense related to the incident made the basis of this

           lawsuit or the damages resulting therefrom, including statements, photographs,

           videotapes, audiotapes, surveillance or security tapes or information, business or

           medical records, incident reports, report cards, periodic reports, telephone call slips

           or records, estimates, measurements, correspondence, facsimiles, email, voice mail,

           text messages, and any electronic image or information related to the referenced

           incident or damages. Failure to maintain such items will constitute “spoliation” of

           the evidence.




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                                            X.      PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear and answer herein and that upon final trial and other hearing of this cause, Plaintiff recover

damages from Defendants for all wrongful death damages, survival damages, general damages,

punitive damages, and special damages in accordance with the evidence, including economic

damages, non-economic damages and exemplary damages as the jury deems her deserving; that

Plaintiff recover costs of court herein expended; that Plaintiff recover interest to which she is justly

entitled under the law, both prejudgment and post judgment; and for such other further relief, both

general and special, both in law and in equity, to which Plaintiff may be justly entitled.



                                                 Respectfully Submitted,

                                                 /s/ Blerim Elmazi
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2021, I electronically filed the foregoing document

with the electronic case filing system of the court. The electronic case filing system sent a “Notice

of Electronic Filing” to all attorneys of record who have consented in writing to accept this Notice

as service of documents by electronic means.



                                                              /s/ Blerim Elmazi
                                                              Blerim Elmazi




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